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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

MATTHEW BEWLEY and RYAN BEWLEY,                      )
                                                     )
                       Plaintiffs                    )
                                                     )
               vs.                                   )   Case No.: 1:23-CV-15570
                                                     )
THE NATIONAL COLLEGIATE ATHLETIC                     )
ASSOCIATION                                          )
                                                     )
                       Defendant.                    )

                         MOTION FOR TEMPORARY RESTRAINING
                         ORDER AND PRELIMINARY INJUNCTION

       COME NOW, Plaintiffs, Matthew Bewley and Ryan Bewley (hereinafter “Bewleys”), by

their attorneys, Dominique Price, Daniel McGrath, and Marcos Reilly of Hinshaw & Culbertson

LLP, pursuant to Fed. R. Civ. P. 65 and N.D. Ind. L.R. 65-1, and respectfully requests this Court

issue a Temporary Restraining Order protecting the Bewleys ability to compete in intercollegiate

athletics against any determination of ineligibility by Defendant, The National Collegiate

Athletic Association (hereinafter “NCAA”). Plaintiffs file concurrently herewith their Brief in

Support of their Motion for Temporary Restraining Order and Verified Complaint.

       WHEREFORE, Plaintiffs, Matthew Bewley and Ryan Bewley by and through counsel,

respectfully request this Court issue a Temporary Restraining Order immediately enjoining the

NCAA from enforcing its ruling on Plaintiffs’ ineligibility to compete in collegiate athletics until

further order of this Court, and any and all other immediate relief appropriate to protect Plaintiffs

from irreparable harm.




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                                             Respectfully Submitted,

                                             MATTHEW BEWLEY and RYAN BEWLEY

                                             By:      /s/Dominique Price
                                                    One of their Attorneys
Dominique A. Price
Daniel McGrath
Marcos Reilly
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                                CERTIFICATE OF SERVICE

         I hereby certify that on November 1, 2023, I electronically filed the forgoing MOTION
FOR TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION with
the Clerk of the U.S. District Court, using the CM/ECF system reflecting service to be served upon
all parties of record.

                                                    /s/ Dominique Price
                                                    Dominique Price
                                                    One of the Attorneys for Plaintiff




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